Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 1 of 10 PageID #: 239
Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 2 of 10 PageID #: 240
Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 3 of 10 PageID #: 241
Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 4 of 10 PageID #: 242
Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 5 of 10 PageID #: 243
Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 6 of 10 PageID #: 244
Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 7 of 10 PageID #: 245
Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 8 of 10 PageID #: 246
Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 9 of 10 PageID #: 247




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Case 1:08-cv-00526-ARR Document 13 Filed 11/25/08 Page 10 of 10 PageID #: 248
